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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

MICHAEL WARREN COX and                            §
PENNY RAY COX,                                    §
                                                  §
       Plaintiffs,                                §
                                                  §
v.                                                §       No. 2:21-CV-00437 KWR/KRS
                                                  §
HARBOR FREIGHT TOOLS USA, INC.,                   §
                                                  §
       Defendant                                  §

     ORDER GRANTING JOINT MOTION TO EXTEND CERTAIN DEADLINES

       THIS MATTER having come before the Court upon the Joint Motion to Extend Certain

Deadlines and the Court being fully advised in the premises,

       IT IS HEREBY ORDERED the deadlines established in the Scheduling Order [Doc 18]

are extended as follows:

               Deadline for Plaintiffs’ expert reports:        March 7, 2022

               Deadline for Defendant’s expert reports:        March 28, 2022

               Discovery Termination:                          May 23, 2022

               Motions Relating to Discovery:                  June 10, 2022

               All Other Motions:                              June 23, 2022

               Pretrial Order:
                                 Plaintiff to Defendant:       August 5, 2022
                                 Defendant to the Court:       August 19, 2022




                                                      KEVIN R. SWEAZEA
                                                      UNITED STATES MAGISTRATE JUDGE
